         Case 1:20-cr-00264-TFH Document 1-1 Filed 06/29/20 Page 1 of 3




                                   STATEMENT OF FACTS
        On June 1, 2020, members of the United States Park Police (“USPP”) were within
Lafayette Park adjacent to the 1600 block of H Street NW, Washington, DC reference the ongoing
protests of the death of George Floyd in Minneapolis, Minnesota.
        On May 29, 2020, in Washington, D.C. a civil disorder, as defined in 18 U.S.C. §232(1),
was occurring that interfered with a federally protected function as evidenced by the Mayor of the
District of Columbia’s Orders 2020-067, and 2020-068, and 2020-070, which state, in pertinent
part:
               In the downtown area of the District of Columbia, numerous
               businesses and government buildings were vandalized,
               burned, or looted. Over the past nights, there has been a
               glorification of violence, particularly during later hours of the
               night. This violence is not representative of peaceful protest or
               individuals exercising their lawful First Amendment rights. The
               health, safety, and well-being of persons within the District of
               Columbia are threatened and endangered by the existence of
               these violent actions.
On June 1, 2020, a 7pm curfew was in effect based on the Mayor of the District of Columbia’s
order. The curfew required all persons to clear the streets and return to their homes – except for
specific, authorized reasons.
        At 6:23pm, USPP Major Adamchick issued three warnings over a loudspeaker, “for safety
and security reasons Layfette Park and H Street are closed to pedestrians. You are ordered to depart
the area immediately.” At 6:30pm, USPP officers, officers of the Uniformed Division of the U.S.
Secret Service, as well as members of the D.C. National Guard and other law enforcement agencies
began clearing protestors from H Street NW starting at Vermont Avenue NW and moving west.
The USPP’s Police Level One Civil Disturbance Unit (“CDU”) was leading this operation.
        At approximately 6:35pm, USPP Officer Sinacore, a member of the CDU unit, was in the
1600 block of H Street in full tactical gear with the word Police clearly displayed on the front and
back of his uniform, a helmet with full face shield with Police displayed and a round shield with
Police displayed and baton. While giving protestors verbal commands to move and clear the area
as directed, Officer Sinacore came into contact with a heavy-set black male, with bushy hair and
beard, wearing a tie dye shirt. This subject was later identified as Defendant MICHAEL JOSEPH
PETERSON, JR (“PETERSON”) of Manassas, Virginia.
       When Officer Sinacore approached PETERSON and ordered him to disperse, PETERSON
pulled Officer Sinacore to the ground and struck Officer Sinacore under his facemask with an
unknown object. Officer Sinacore was able to wrestle free and get back to his feet, at which point
PETERSON fled into the crowd. Officer Sinacore observed blood falling from his face onto his
uniform and the ground. As a result of this assault, Officer Sinacore had a laceration over his right
eye and bruising on his nose.
         Case 1:20-cr-00264-TFH Document 1-1 Filed 06/29/20 Page 2 of 3




        Upon the line moving forward, USPP Officer Tomasiello, a member of the CDU unit who
was dressed and equipped identically to Officer Sinacore, came into contact with PETERSON. At
this time, PETERSON was kneeling on the ground and refusing to obey verbal commands to move
back. As Officer Tomasiello approached, PETERSON lunged at him and wrapped himself around
Officer Tomasiello’s left leg and tried to pull him to the ground. Officer Tomasiello was able to
keep his footing and, with the assistance of other officers, was able to pull his leg free of
PETERSON’s grasp. At this point, PETERSON again fled into the crowd.
         Officer Tomasiello was able to locate PETERSON in the crowd and called an arrest team
to the front of the line. USPP Officers Williams, Perkins, Glendenning, Rancier, Sinacore and
Tomasiello then attempted to place Peterson under arrest. PETERSON actively resisted arrest by
throwing punches with a closed fist and wrestling away from the officers. PETERSON was able
to pull free of the officers and flee into the crowd. USPP officers did not pursue due to the crowd’s
hostility.
       On June 2, 2020, Officer Sinacore observed a link referencing the civil unrest that occurred
on June 1, 2020 at the White House on the social media app “Twitter”. Upon examining the link,
Officer Sinacore discovered a digital photograph of the man who assaulted him and fought off
USPP Officers as they attempted to arrest him.
        On June 9, 2020, Officer Tomasiello was shown the same digital photograph and positively
identified the subject depicted as the subject who grabbed his leg and attempted to tackle him to
the ground and fought off USPP Officers as they attempted to arrest him.
        On June 9, 2020, USPP Detective Sergeant Holmberg sent the digital photograph to
Lieutenant Garcia with the Prince George’s County Park Police. Lieutenant Garcia utilized the
National Capital Region Facial Recognition Investigative Leads System to generate an
investigative lead based on the digital photograph. The System identified Defendant MICHAEL
JOSEPH PETERSON as a “match candidate.”
        A check of law enforcement databases revealed that Officer Lucas of the Uniformed
Division of the U.S. Secret Service recovered an abandoned backpack at 6:08am on June 2, 2020
– less than 12 hours after the incidents described above took place. The abandoned backpack was
recovered at 1610 H Street, NW, the same block where the incidents described above occurred.
Within the backpack was a Virginia Identification Card in Defendant PETERSON’s name,
confirming that he traveled from Virginia to the District of Columbia to participate in the protests,
as well as a baseball cap that PETERSON was seen wearing in video taken of the protests.
PETERSON’s Virginia Identification Card included a photograph of his face. Your affiant has
compared the digital photograph contained on PETERSON’s Virginia Identification Card to the
digital photograph viewed by USPP Officers Sinacore and Tomasiello, and it clear that both
photographs depict the same individual.
         Case 1:20-cr-00264-TFH Document 1-1 Filed 06/29/20 Page 3 of 3




                                            _________________________________________
                                            DETECTIVE ROBERT FREEMAN
                                            UNITED STATES PARK POLICE

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29 th day of June, 2020.


                                            ___________________________________
                                            ROBIN M. MERIWEATHER
                                            U.S. MAGISTRATE JUDGE
